      Case 1:24-cr-00186-RDP-SGC Document 1 Filed 05/30/24 Page 1 of 4                  FILED
                                                                               2024 May-31 PM 03:31
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                                                           PFE/KMP June 2024
                                                                    GJ#2


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                 v.                            )   No.
                                               )
KELVONTAE RASHAD WALLACE,                      )
also known as “Wallskreet,”                    )
Defendant                                      )

                                INDICTMENT

                                 COUNT ONE:
                        Felon in Possession of a Firearm
                             18 U.S.C. § 922(g)(1)

      The Grand Jury charges that:

      On or about the 2nd day of January 2024, in St. Clair County, within the

Northern District of Alabama, the defendant,

                      KELVONTAE RASHAD WALLACE,
                         also known as “Wallskreet,”

knowing he had previously been convicted of a crime punishable by imprisonment

for a term exceeding one year, knowingly possessed a firearm, that is, a Century

Arms 7.62x39mm pistol, and the firearm was in and affecting interstate or foreign

commerce, in violation of Title 18, United States Code, Section 922(g)(1). Wallace

was convicted on July 29, 2022, in the Circuit Court of Talladega County, Alabama,

                                        1
      Case 1:24-cr-00186-RDP-SGC Document 1 Filed 05/30/24 Page 2 of 4


of the offenses of Discharging a Gun into an Occupied Building or Vehicle and

Assault, Second Degree, in case number DC-2022-0789, each of the said offenses

being a crime punishable by imprisonment for a term exceeding one year.


                                COUNT TWO:
                          Possession of a Machinegun
                              18 U.S.C. § 922(o)

      The Grand Jury charges that:

      On or about the 15th day of December 2023, in Talladega County, within the

Northern District of Alabama, the defendant,

                    KELVONTAE RASHAD WALLACE,
                       also known as “Wallskreet,”

did knowingly possess a machinegun, that is, a Glock .45 caliber pistol modified

with a machinegun conversion device designed to enable automatic fire, more

commonly referred to as a “Glock switch,” in violation of Title 18, United States

Code, Sections 922(o) and 924(a)(2).



                               COUNT THREE:
               Receipt or Possession of an Unregistered Firearm
                              26 U.S.C. § 5861(d)

      The Grand Jury further charges that:

      On or about the 15th day of December 2023, in Talladega County, within the




                                        2
      Case 1:24-cr-00186-RDP-SGC Document 1 Filed 05/30/24 Page 3 of 4


Northern District of Alabama, the defendant,

                     KELVONTAE RASHAD WALLACE,
                        also known as “Wallskreet,”

knowingly received and possessed a firearm, that is, a Glock .45 caliber pistol

modified with a machinegun conversion device designed to enable automatic fire,

not registered to him in the National Firearms Registration and Transfer Record, in

violation of Title 26, United States Code, Sections 5841, 5861(d).



                                COUNT FOUR:
                        Felon in Possession of a Firearm
                             18 U.S.C. § 922(g)(1)

      The Grand Jury charges that:

      On or about the 15th day of December 2023, in Talladega County, within the

Northern District of Alabama, the defendant,

                     KELVONTAE RASHAD WALLACE,
                        also known as “Wallskreet,”

knowing he had previously been convicted of a crime punishable by imprisonment

for a term exceeding one year, knowingly possessed a firearm and ammunition, that

is a Glock .45 caliber pistol modified with a machinegun conversion device designed

to enable automatic fire and five rounds of PMC .45 caliber ammunition, and the

firearm and ammunition was in and affecting interstate or foreign commerce, in

violation of Title 18, United States Code, Section 922(g)(1). Wallace was convicted

on July 29, 2022, in the Circuit Court of Talladega County, Alabama, of the offenses

                                         3
      Case 1:24-cr-00186-RDP-SGC Document 1 Filed 05/30/24 Page 4 of 4


of Discharging a Gun into an Occupied Building or Vehicle and Assault, Second

Degree, in case number DC-2022-0789, each of the said offenses being a crime

punishable by imprisonment for a term exceeding one year.


A TRUE BILL


/s/ Electronic Signature
FOREPERSON OF THE GRAND JURY

                                           PRIM F. ESCALONA
                                           United States Attorney


                                           /s/ Electronic Signature
                                           KRISTY M. PEOPLES
                                           Assistant United States Attorney




                                       4
